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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                          :   Date of
                                                  :   Notice: September 27, 2018
              vs.                                 :
                                                  :
LEAFORD GEORGE CAMERON                            :   CRIMINAL NO. 15-415
USM No. 72386-066
FDC Philadelphia
P.O. Box 562
Philadelphia, PA 19106


                                               NOTICE
                TAKE NOTICE that the above-entitled case has been set for CONTINUED
SENTENCING HEARING TO ADDRESS RESTITUTION in the United States District Court,
United States Courthouse, 601 Market Street, Philadelphia, Pennsylvania, on October 25, 2018 at
10:00 a.m. before the Honorable Gene E. K. Pratter, in Courtroom 10-B, 10th floor.
                All defendants who are on bail shall report to the Courtroom on the date and time
specified above. If a defendant fails to appear as directed, his bail may be revoked, and a bench
warrant issued.
                AT LEAST ONE (1) WEEK BEFORE SENTENCING, THE PARTIES SHALL
FILE AND SERVE SENTENCING MEMORANDA which, in addition to information
concerning the Defendant that counsel believes the Court should consider, set forth any legal
authority upon which they will rely at sentencing. Any downward departure motions under §
5K1.1 of the United States Sentencing Guidelines and 18 U.S.C. § 3553(e) shall be filed and
served at least one (1) week before sentencing. Motions other than downward departure
motions under § 5K1.1 of the United States Sentencing Guidelines and 18 U.S.C. § 3553(e) shall
be filed and served at least two (2) weeks before sentencing. Responses to any such motions
shall be filed and served at least one (1) week before sentencing. One (1) copy of each
sentencing memorandum and each motion and response shall be served on the Court
(Chambers, Room 10613) and the United States Probation Officer when the original is filed.

                                                  Very truly yours,


                                                  Michael Coyle
                                                  Deputy Clerk to Judge Gene E. K. Pratter
                                     Notice to:
                                                  Defendant
                                                  Christopher G. Furlong, Esq., Defense Counsel
                                                  Mary E. Crawley, A.U.S.A. (via e-mail)
                                                  U.S. Marshal (via e-mail)
                                                  Probation Office (via e-mail)
                                                  Pretrial Services (via e-mail)
                                                  Larry Bowman (via e-mail)
[NO] INTERPRETER REQUIRED
This proceeding has been rescheduled from:
